EXHIBIT A
                                                                          Volume                               Commerce
                                                                          (metric            Commerce         Determined        US Steel                      AK Steel
      Docket ID      Date Posted     HTUS                    Importer      tons)                                                           Nucor Objected?
                                                                                           Denied Request?   Sufficient U.S.   Objected?                     Objected?
                                                                         1000 kg = 1
                                                                         metric ton                           Availability?

                                                                                                 Y                 Y              Y              Y              N
BIS‐2018‐0006‐0255     24‐Apr‐18   7207120050   Evraz Inc.              151,485
                                                                                                 Y                 Y              Y              Y              N
BIS‐2018‐0006‐0257     24‐Apr‐18   7207120050   Evraz Inc.              11,241
                                                                                                 Y                 Y              Y              Y              N
BIS‐2018‐0006‐0260     24‐Apr‐18   7207120050   Evraz Inc.              8,225
                                                                                                 Y                 Y              Y              Y              N
BIS‐2018‐0006‐0264     24‐Apr‐18   7207120050   Evraz Inc.              93,496
                                                                                                 Y                 Y              Y              Y              N
BIS‐2018‐0006‐0266     24‐Apr‐18   7207120050   Evraz Inc.              47,368
                                                                                                 Y                 Y              Y              Y              N
BIS‐2018‐0006‐0269     24‐Apr‐18   7207120050   Evraz Inc.              4,798
                                                                                                 Y                 Y              Y              Y              N
BIS‐2018‐0006‐0270     24‐Apr‐18   7207120050   Evraz Inc.              55,666
                                                                                                 Y                 Y              Y              Y              N
BIS‐2018‐0006‐0271     24‐Apr‐18   7207120050   Evraz Inc.              28,922
                                                                                                 Y                 Y              Y              Y              N
BIS‐2018‐0006‐0272     24‐Apr‐18   7207120050   Evraz Inc.              5,027
                                                                                                 Y                 Y              Y              Y              N
BIS‐2018‐0006‐0274     24‐Apr‐18   7207120050   Evraz Inc.              27,829
                                                                                                 Y                 Y              Y              Y              N
BIS‐2018‐0006‐0275     24‐Apr‐18   7207120050   Evraz Inc.              16,803
                                                                                                 Y                 Y              Y              Y              N
BIS‐2018‐0006‐0278     24‐Apr‐18   7207120050   Evraz Inc.              5,198
                                                                                                 Y                 Y              Y              Y              N
BIS‐2018‐0006‐0279     24‐Apr‐18   7207120050   Evraz Inc.              10,579
                                                                                                 Y                 Y              Y              Y              N
BIS‐2018‐0006‐0281     24‐Apr‐18   7207120050   Evraz Inc.              9,641
                                                                                                 Y                 Y              Y              Y              N
BIS‐2018‐0006‐0291     24‐Apr‐18   7224900055   Evraz Inc.              40,853
                                                                                                 Y                 Y              Y              Y              N
BIS‐2018‐0006‐0293     24‐Apr‐18   7224900055   Evraz Inc.              87,145
                                                                                                 Y                 Y              Y              Y              N
BIS‐2018‐0006‐0466     26‐Apr‐18   7224900055   Evraz Inc.              594
                                                                                                 Y                 Y              Y              Y              N
BIS‐2018‐0006‐0467     26‐Apr‐18   7224900055   Evraz Inc.              9,198
                                                                                                 Y                 Y              Y              Y              N
BIS‐2018‐0006‐0468     26‐Apr‐18   7224900055   Evraz Inc.              5,908
                                                                                                 Y                 Y              Y              Y              N
BIS‐2018‐0006‐0469     26‐Apr‐18   7224900055   Evraz Inc.              6,786
                                                                                                 Y                 Y              Y              Y              N
BIS‐2018‐0006‐0470     26‐Apr‐18   7224900055   Evraz Inc.              14,643


                                                                                       1
                                                                           Volume                               Commerce
                                                                           (metric            Commerce         Determined        US Steel                      AK Steel
      Docket ID      Date Posted     HTUS                    Importer       tons)                                                           Nucor Objected?
                                                                                            Denied Request?   Sufficient U.S.   Objected?                     Objected?
                                                                          1000 kg = 1
                                                                          metric ton                           Availability?

                                                                                                  Y                 Y              Y              Y              N
BIS‐2018‐0006‐0471     26‐Apr‐18   7224900055   Evraz Inc.               2,548
                                                                                                  Y                 Y              Y              Y              N
BIS‐2018‐0006‐0472     26‐Apr‐18   7224900055   Evraz Inc.               6,576
                                                                                                  Y                 Y              Y              Y              N
BIS‐2018‐0006‐0473     26‐Apr‐18   7224900055   Evraz Inc.               6,576
                                                                                                  Y                 Y              Y              Y              N
BIS‐2018‐0006‐0475     26‐Apr‐18   7224900055   Evraz Inc.               3,587
                                                                                                  Y                 Y              Y              Y              N
BIS‐2018‐0006‐0476     26‐Apr‐18   7224900055   Evraz Inc.               888
                                                                                                  Y                 Y              Y              Y              N
BIS‐2018‐0006‐0477     26‐Apr‐18   7224900055   Evraz Inc.               897
                                                                                                  Y                 Y              Y              Y              N
BIS‐2018‐0006‐0479     26‐Apr‐18   7224900055   Evraz Inc.               14,643
                                                                                                  Y                 Y              Y              Y              N
BIS‐2018‐0006‐0640     27‐Apr‐18   7207120050   Evraz Inc.               322,044
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0680     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   36,014
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0681     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   9,624
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0682     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   13,590
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0683     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   6,000
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0684     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   6,000
                                                                                                  Y                 Y              Y              Y              N
BIS‐2018‐0006‐0686     30‐Apr‐18   7207120050   NLMK Indiana, LLC        192,986
                                                                                                  Y                 Y              Y              N              Y
BIS‐2018‐0006‐0688     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   6,000
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0691     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   6,000
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0693     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   19,000
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0694     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   6,000
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0695     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   6,000
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0696     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   6,000
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0697     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   6,000


                                                                                        2
                                                                           Volume                               Commerce
                                                                           (metric            Commerce         Determined        US Steel                      AK Steel
      Docket ID      Date Posted     HTUS                 Importer          tons)                                                           Nucor Objected?
                                                                                            Denied Request?   Sufficient U.S.   Objected?                     Objected?
                                                                          1000 kg = 1
                                                                          metric ton                           Availability?

                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0698     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   6,000
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0701     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   6,000
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0702     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   6,000
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0704     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   96,400
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0707     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   44,968
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0714     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   14,144
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0715     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   7,088
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0717     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   1,595
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0723     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   38,113
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0725     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   1,146
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0727     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   36,630
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0729     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   170,563
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0731     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   45,000
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0732     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   125,824
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0734     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   10,353
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0735     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   323
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0737     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   185,640
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0738     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   53,878
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0739     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   821,365
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0740     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   20,313
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0742     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   8,407


                                                                                        3
                                                                           Volume                               Commerce
                                                                           (metric            Commerce         Determined        US Steel                      AK Steel
      Docket ID      Date Posted     HTUS                 Importer          tons)                                                           Nucor Objected?
                                                                                            Denied Request?   Sufficient U.S.   Objected?                     Objected?
                                                                          1000 kg = 1
                                                                          metric ton                           Availability?

                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0743     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   1,080
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0744     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   139,416
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0745     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   22,175
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0746     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   26
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0747     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   6,000
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0785     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   4,273
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0786     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   12,856
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0787     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   34,500
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0789     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   34,500
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0790     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   34,500
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0806     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   6,000
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐0807     30‐Apr‐18   7207120050   NLMK Pennsylvania, LLC   696
                                                                                                  Y                 Y              Y              Y              N
BIS‐2018‐0006‐0885     1‐May‐18    7207120050   NLMK Indiana, LLC        110,372
                                                                                                  Y                 Y              Y              Y              N
BIS‐2018‐0006‐0886     1‐May‐18    7207120050   NLMK Indiana, LLC        6,529
                                                                                                  Y                 Y              Y              Y              N
BIS‐2018‐0006‐0887     1‐May‐18    7207120050   NLMK Indiana, LLC        5,424
                                                                                                  Y                 Y              Y              Y              N
BIS‐2018‐0006‐0888     1‐May‐18    7207120050   NLMK Indiana, LLC        84,690
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐1015     1‐May‐18    7207120050   NLMK Pennsylvania, LLC   34,500
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐1020     1‐May‐18    7207120050   NLMK Pennsylvania, LLC   450,000
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐1023     1‐May‐18    7207120050   NLMK Pennsylvania, LLC   34,500
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐1027     1‐May‐18    7207120050   NLMK Pennsylvania, LLC   34,500
                                                                                                  Y                 Y              Y              Y              Y
BIS‐2018‐0006‐1031     1‐May‐18    7207120050   NLMK Pennsylvania, LLC   34,500


                                                                                        4
                                                                                      Volume                               Commerce
                                                                                      (metric            Commerce         Determined        US Steel                      AK Steel
      Docket ID      Date Posted     HTUS                   Importer                   tons)                                                           Nucor Objected?
                                                                                                       Denied Request?   Sufficient U.S.   Objected?                     Objected?
                                                                                     1000 kg = 1
                                                                                     metric ton                           Availability?

                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐1035     1‐May‐18    7207120050   NLMK Pennsylvania, LLC              34,500
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐1039     1‐May‐18    7207120050   NLMK Pennsylvania, LLC              34,500
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐1042     1‐May‐18    7207120050   NLMK Pennsylvania, LLC              34,500
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐1044     1‐May‐18    7207120050   NLMK Pennsylvania, LLC              34,500
                                                                                                             Y                 Y              Y              N              Y
BIS‐2018‐0006‐1045     1‐May‐18    7207120050   NLMK Pennsylvania, LLC              34,500
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐1218     2‐May‐18    7207120050   JSW Steel (USA) Inc.                140,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐1221     2‐May‐18    7207120050   JSW Steel (USA) Inc.                240,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐1227     2‐May‐18    7207120050   JSW Steel (USA) Inc.                75,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐2335     9‐May‐18    7224900055   JSW Steel (USA) Inc.                20,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐2336     9‐May‐18    7224900055   JSW Steel (USA) Inc.                48,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐2337     9‐May‐18    7224900055   JSW Steel (USA) Inc.                5,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐3753    17‐May‐18    7207120050   California Steel Industries, Inc.   7,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐3774    17‐May‐18    7207120050   California Steel Industries, Inc.   19,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐3953    17‐May‐18    7224900055   California Steel Industries, Inc.   1,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐4996    22‐May‐18    7224900055   California Steel Industries, Inc.   21,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐4999    22‐May‐18    7224900055   California Steel Industries, Inc.   3,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5003    22‐May‐18    7224900055   California Steel Industries, Inc.   1,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5008    22‐May‐18    7224900055   California Steel Industries, Inc.   4,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5035    22‐May‐18    7224900055   California Steel Industries, Inc.   42,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5042    22‐May‐18    7224900055   California Steel Industries, Inc.   5,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5047    22‐May‐18    7224900055   California Steel Industries, Inc.   13,000


                                                                                                   5
                                                                                      Volume                               Commerce
                                                                                      (metric            Commerce         Determined        US Steel                      AK Steel
      Docket ID      Date Posted     HTUS                   Importer                   tons)                                                           Nucor Objected?
                                                                                                       Denied Request?   Sufficient U.S.   Objected?                     Objected?
                                                                                     1000 kg = 1
                                                                                     metric ton                           Availability?

                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5054    22‐May‐18    7224900055   California Steel Industries, Inc.   10,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5062    22‐May‐18    7224900055   California Steel Industries, Inc.   7,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5067    22‐May‐18    7224900055   California Steel Industries, Inc.   5,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5073    22‐May‐18    7224900055   California Steel Industries, Inc.   4,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5076    22‐May‐18    7224900055   California Steel Industries, Inc.   5,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5283    23‐May‐18    7224900055   California Steel Industries, Inc.   21,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5286    23‐May‐18    7224900055   California Steel Industries, Inc.   1,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5289    23‐May‐18    7224900055   California Steel Industries, Inc.   3,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5291    23‐May‐18    7224900055   California Steel Industries, Inc.   42,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5292    23‐May‐18    7224900055   California Steel Industries, Inc.   13,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5293    23‐May‐18    7224900055   California Steel Industries, Inc.   10,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5294    23‐May‐18    7224900055   California Steel Industries, Inc.   7,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5297    23‐May‐18    7224900055   California Steel Industries, Inc.   5,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5300    23‐May‐18    7224900055   California Steel Industries, Inc.   100,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5303    23‐May‐18    7224900055   California Steel Industries, Inc.   4,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5304    23‐May‐18    7207120050   California Steel Industries, Inc.   6,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5307    23‐May‐18    7207120050   California Steel Industries, Inc.   100,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5309    23‐May‐18    7207120050   California Steel Industries, Inc.   8,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5313    23‐May‐18    7207120050   California Steel Industries, Inc.   108,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5319    23‐May‐18    7207120050   California Steel Industries, Inc.   11,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5322    23‐May‐18    7207120050   California Steel Industries, Inc.   9,000


                                                                                                   6
                                                                                      Volume                               Commerce
                                                                                      (metric            Commerce         Determined        US Steel                      AK Steel
      Docket ID      Date Posted     HTUS                   Importer                   tons)                                                           Nucor Objected?
                                                                                                       Denied Request?   Sufficient U.S.   Objected?                     Objected?
                                                                                     1000 kg = 1
                                                                                     metric ton                           Availability?

                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5328    23‐May‐18    7207120050   California Steel Industries, Inc.   121,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5329    23‐May‐18    7224900055   California Steel Industries, Inc.   5,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5336    23‐May‐18    7224900055   California Steel Industries, Inc.   21,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5340    23‐May‐18    7224900055   California Steel Industries, Inc.   1,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5341    23‐May‐18    7207120050   California Steel Industries, Inc.   12,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5344    23‐May‐18    7207120050   California Steel Industries, Inc.   5,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5348    23‐May‐18    7207120050   California Steel Industries, Inc.   66,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5349    23‐May‐18    7207120050   California Steel Industries, Inc.   2,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5350    23‐May‐18    7224900055   California Steel Industries, Inc.   3,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5353    23‐May‐18    7224900055   California Steel Industries, Inc.   42,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5358    23‐May‐18    7224900055   California Steel Industries, Inc.   100,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5360    23‐May‐18    7224900055   California Steel Industries, Inc.   13,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5362    23‐May‐18    7224900055   California Steel Industries, Inc.   10,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5364    23‐May‐18    7224900055   California Steel Industries, Inc.   7,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5366    23‐May‐18    7224900055   California Steel Industries, Inc.   5,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5371    23‐May‐18    7224900055   California Steel Industries, Inc.   150,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5373    23‐May‐18    7207120050   California Steel Industries, Inc.   12,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5375    23‐May‐18    7207120050   California Steel Industries, Inc.   10,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5376    23‐May‐18    7207120050   California Steel Industries, Inc.   2,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5378    23‐May‐18    7207120050   California Steel Industries, Inc.   100,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5380    23‐May‐18    7207120050   California Steel Industries, Inc.   43,000


                                                                                                   7
                                                                                      Volume                               Commerce
                                                                                      (metric            Commerce         Determined        US Steel                      AK Steel
      Docket ID      Date Posted     HTUS                   Importer                   tons)                                                           Nucor Objected?
                                                                                                       Denied Request?   Sufficient U.S.   Objected?                     Objected?
                                                                                     1000 kg = 1
                                                                                     metric ton                           Availability?

                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5381    23‐May‐18    7207120050   California Steel Industries, Inc.   24,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5382    23‐May‐18    7207120050   California Steel Industries, Inc.   4,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5383    23‐May‐18    7207120050   California Steel Industries, Inc.   2,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5385    23‐May‐18    7207120050   California Steel Industries, Inc.   26,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5386    23‐May‐18    7207120050   California Steel Industries, Inc.   4,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5389    23‐May‐18    7207120050   California Steel Industries, Inc.   6,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5390    23‐May‐18    7207120050   California Steel Industries, Inc.   124,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5392    23‐May‐18    7207120050   California Steel Industries, Inc.   26,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5393    23‐May‐18    7207120050   California Steel Industries, Inc.   11,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5395    23‐May‐18    7207120050   California Steel Industries, Inc.   1,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5397    23‐May‐18    7207120050   California Steel Industries, Inc.   1,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5399    23‐May‐18    7207120050   California Steel Industries, Inc.   57,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5402    23‐May‐18    7207120050   California Steel Industries, Inc.   103,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5404    23‐May‐18    7207120050   California Steel Industries, Inc.   150,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5409    23‐May‐18    7207120050   California Steel Industries, Inc.   75,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5452    23‐May‐18    7207120050   California Steel Industries, Inc.   19,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5455    23‐May‐18    7207120050   California Steel Industries, Inc.   2,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5458    23‐May‐18    7207120050   California Steel Industries, Inc.   2,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5464    23‐May‐18    7207120050   California Steel Industries, Inc.   2,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5468    23‐May‐18    7207120050   California Steel Industries, Inc.   7,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5476    23‐May‐18    7207120050   California Steel Industries, Inc.   3,000


                                                                                                   8
                                                                                      Volume                               Commerce
                                                                                      (metric            Commerce         Determined        US Steel                      AK Steel
      Docket ID      Date Posted     HTUS                   Importer                   tons)                                                           Nucor Objected?
                                                                                                       Denied Request?   Sufficient U.S.   Objected?                     Objected?
                                                                                     1000 kg = 1
                                                                                     metric ton                           Availability?

                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5479    23‐May‐18    7207120050   California Steel Industries, Inc.   20,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5481    23‐May‐18    7207120050   California Steel Industries, Inc.   12,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5483    23‐May‐18    7207120050   California Steel Industries, Inc.   10,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5485    23‐May‐18    7207120050   California Steel Industries, Inc.   7,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5487    23‐May‐18    7207120050   California Steel Industries, Inc.   27,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5492    23‐May‐18    7207120050   California Steel Industries, Inc.   44,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5494    23‐May‐18    7207120050   California Steel Industries, Inc.   2,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5496    23‐May‐18    7207120050   California Steel Industries, Inc.   91,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5497    23‐May‐18    7207120050   California Steel Industries, Inc.   19,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5499    23‐May‐18    7207120050   California Steel Industries, Inc.   4,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5501    23‐May‐18    7207120050   California Steel Industries, Inc.   6,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5507    23‐May‐18    7207120050   California Steel Industries, Inc.   5,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5509    23‐May‐18    7207120050   California Steel Industries, Inc.   5,000
                                                                                                             Y                 Y              Y              Y              Y
BIS‐2018‐0006‐5511    23‐May‐18    7207120050   California Steel Industries, Inc.   27,000
                                                                                                             Y                 Y              Y              Y              N
BIS‐2018‐0006‐5513    23‐May‐18    7207120050   California Steel Industries, Inc.   13,000
                                                                                                             Y                 N              Y              Y              N
BIS‐2018‐0006‐5695    24‐May‐18    7224900055   California Steel Industries, Inc.   500,000
                                                                                                             Y                 N              Y              Y              N
BIS‐2018‐0006‐5698    24‐May‐18    7224900055   California Steel Industries, Inc.   400,000
                                                                                                             Y                 N              Y              Y              N
BIS‐2018‐0006‐5699    24‐May‐18    7224900055   California Steel Industries, Inc.   20,000
                                                                                                             Y                 N              Y              Y              N
BIS‐2018‐0006‐5700    24‐May‐18    7224900055   California Steel Industries, Inc.   500,000
                                                                                                             Y                 N              Y              Y              N
BIS‐2018‐0006‐5701    24‐May‐18    7224900055   California Steel Industries, Inc.   20,000
                                                                                                             Y                 N              Y              Y              N
BIS‐2018‐0006‐5702    24‐May‐18    7224900055   California Steel Industries, Inc.   400,000


                                                                                                   9
                                                                                      Volume                                Commerce
                                                                                      (metric             Commerce         Determined        US Steel                      AK Steel
      Docket ID      Date Posted     HTUS                   Importer                   tons)                                                            Nucor Objected?
                                                                                                        Denied Request?   Sufficient U.S.   Objected?                     Objected?
                                                                                     1000 kg = 1
                                                                                     metric ton                            Availability?

                                                                                                              Y                 N              Y              Y              N
BIS‐2018‐0006‐5703    24‐May‐18    7224900055   California Steel Industries, Inc.   600,000
                                                                                                              Y                 N              Y              Y              N
BIS‐2018‐0006‐5704    24‐May‐18    7224900055   California Steel Industries, Inc.   400,000
                                                                                                              Y                 N              Y              Y              N
BIS‐2018‐0006‐5705    24‐May‐18    7224900055   California Steel Industries, Inc.   500,000
                                                                                                              Y                 N              Y              Y              N
BIS‐2018‐0006‐5706    24‐May‐18    7224900055   California Steel Industries, Inc.   20,000
                                                                                                              Y                 N              Y              Y              N
BIS‐2018‐0006‐5709    24‐May‐18    7224900055   California Steel Industries, Inc.   16,000
                                                                                                              Y                 N              Y              Y              N
BIS‐2018‐0006‐5711    24‐May‐18    7224900055   California Steel Industries, Inc.   28,000
                                                                                                              Y                 N              Y              Y              N
BIS‐2018‐0006‐5713    24‐May‐18    7224900055   California Steel Industries, Inc.   600,000
                                                                                                              Y                 N              Y              Y              N
BIS‐2018‐0006‐5715    24‐May‐18    7224900055   California Steel Industries, Inc.   500,000
                                                                                                              Y                 N              Y              Y              N
BIS‐2018‐0006‐5716    24‐May‐18    7224900055   California Steel Industries, Inc.   16,000
                                                                                                              Y                 N              Y              Y              N
BIS‐2018‐0006‐5717    24‐May‐18    7224900055   California Steel Industries, Inc.   400,000
                                                                                                              Y                 N              Y              Y              N
BIS‐2018‐0006‐5718    24‐May‐18    7224900055   California Steel Industries, Inc.   48,000
                                                                                                              Y                 N              Y              Y              N
BIS‐2018‐0006‐5719    24‐May‐18    7224900055   California Steel Industries, Inc.   40,000
                                                                                                              Y                 N              Y              Y              N
BIS‐2018‐0006‐5721    24‐May‐18    7224900055   California Steel Industries, Inc.   500,000
                                                                                                              Y                 N              Y              Y              N
BIS‐2018‐0006‐5723    24‐May‐18    7224900055   California Steel Industries, Inc.   24,000
                                                                                                              Y                 Y              Y              Y              N
BIS‐2018‐0006‐5724    24‐May‐18    7224900055   California Steel Industries, Inc.   4,000
                                                                                                              Y                 Y              Y              Y              N
BIS‐2018‐0006‐5726    24‐May‐18    7224900055   California Steel Industries, Inc.   400,000
                                                                                                              Y                 Y              Y              Y              N
BIS‐2018‐0006‐5727    24‐May‐18    7224900055   California Steel Industries, Inc.   600,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐6016    24‐May‐18    7207120050   California Steel Industries, Inc.   8,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐6017    24‐May‐18    7207120050   California Steel Industries, Inc.   500,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐6018    24‐May‐18    7207120050   California Steel Industries, Inc.   400,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐6019    24‐May‐18    7207120050   California Steel Industries, Inc.   8,000


                                                                                                   10
                                                                                      Volume                                Commerce
                                                                                      (metric             Commerce         Determined        US Steel                      AK Steel
      Docket ID      Date Posted     HTUS                   Importer                   tons)                                                            Nucor Objected?
                                                                                                        Denied Request?   Sufficient U.S.   Objected?                     Objected?
                                                                                     1000 kg = 1
                                                                                     metric ton                            Availability?

                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐6020    24‐May‐18    7207120050   California Steel Industries, Inc.   24,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐6021    24‐May‐18    7207120050   California Steel Industries, Inc.   32,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐6022    24‐May‐18    7207120050   California Steel Industries, Inc.   72,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐6023    24‐May‐18    7207120050   California Steel Industries, Inc.   336,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐6024    24‐May‐18    7207120050   California Steel Industries, Inc.   500,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐6025    24‐May‐18    7207120050   California Steel Industries, Inc.   116,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐6026    24‐May‐18    7207120050   California Steel Industries, Inc.   28,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐6027    24‐May‐18    7207120050   California Steel Industries, Inc.   20,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐6028    24‐May‐18    7207120050   California Steel Industries, Inc.   20,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6091    25‐May‐18    7207120050   California Steel Industries, Inc.   400,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐6096    25‐May‐18    7207120050   California Steel Industries, Inc.   56,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐6100    25‐May‐18    7207120050   California Steel Industries, Inc.   20,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐6106    25‐May‐18    7207120050   California Steel Industries, Inc.   4,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐6150    25‐May‐18    7207120050   California Steel Industries, Inc.   12,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐6173    25‐May‐18    7207120050   California Steel Industries, Inc.   8,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐6174    25‐May‐18    7207120050   California Steel Industries, Inc.   400,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐6175    25‐May‐18    7207120050   California Steel Industries, Inc.   12,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐6176    25‐May‐18    7207120050   California Steel Industries, Inc.   40,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6177    25‐May‐18    7207120050   California Steel Industries, Inc.   16,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6178    25‐May‐18    7207120050   California Steel Industries, Inc.   512,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6180    25‐May‐18    7207120050   California Steel Industries, Inc.   600,000


                                                                                                   11
                                                                                      Volume                                Commerce
                                                                                      (metric             Commerce         Determined        US Steel                      AK Steel
      Docket ID      Date Posted     HTUS                   Importer                   tons)                                                            Nucor Objected?
                                                                                                        Denied Request?   Sufficient U.S.   Objected?                     Objected?
                                                                                     1000 kg = 1
                                                                                     metric ton                            Availability?

                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6181    25‐May‐18    7207120050   California Steel Industries, Inc.   92,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6182    25‐May‐18    7207120050   California Steel Industries, Inc.   64,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6183    25‐May‐18    7207120050   California Steel Industries, Inc.   8,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6316    25‐May‐18    7207120050   California Steel Industries, Inc.   400,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6318    25‐May‐18    7207120050   California Steel Industries, Inc.   96,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6319    25‐May‐18    7207120050   California Steel Industries, Inc.   500,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6322    25‐May‐18    7207120050   California Steel Industries, Inc.   132,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6323    25‐May‐18    7207120050   California Steel Industries, Inc.   400,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6324    25‐May‐18    7207120050   California Steel Industries, Inc.   8,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6326    25‐May‐18    7207120050   California Steel Industries, Inc.   116,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6327    25‐May‐18    7207120050   California Steel Industries, Inc.   28,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6329    25‐May‐18    7207120050   California Steel Industries, Inc.   324,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6330    25‐May‐18    7207120050   California Steel Industries, Inc.   48,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6333    25‐May‐18    7207120050   California Steel Industries, Inc.   1,432,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6334    25‐May‐18    7207120050   California Steel Industries, Inc.   500,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6336    25‐May‐18    7207120050   California Steel Industries, Inc.   272,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6337    25‐May‐18    7207120050   California Steel Industries, Inc.   32,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6338    25‐May‐18    7207120050   California Steel Industries, Inc.   28,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6341    25‐May‐18    7207120050   California Steel Industries, Inc.   24,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6343    25‐May‐18    7207120050   California Steel Industries, Inc.   400,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6347    25‐May‐18    7207120050   California Steel Industries, Inc.   8,000


                                                                                                   12
                                                                                      Volume                                Commerce
                                                                                      (metric             Commerce         Determined        US Steel                      AK Steel
      Docket ID      Date Posted     HTUS                   Importer                   tons)                                                            Nucor Objected?
                                                                                                        Denied Request?   Sufficient U.S.   Objected?                     Objected?
                                                                                     1000 kg = 1
                                                                                     metric ton                            Availability?

                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6349    25‐May‐18    7207120050   California Steel Industries, Inc.   8,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6351    25‐May‐18    7207120050   California Steel Industries, Inc.   672,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6352    25‐May‐18    7207120050   California Steel Industries, Inc.   600,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6354    25‐May‐18    7207120050   California Steel Industries, Inc.   8,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6356    25‐May‐18    7207120050   California Steel Industries, Inc.   8,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6358    25‐May‐18    7207120050   California Steel Industries, Inc.   80,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6359    25‐May‐18    7207120050   California Steel Industries, Inc.   500,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6362    25‐May‐18    7207120050   California Steel Industries, Inc.   168,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6363    25‐May‐18    7207120050   California Steel Industries, Inc.   400,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6364    25‐May‐18    7207120050   California Steel Industries, Inc.   20,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6365    25‐May‐18    7207120050   California Steel Industries, Inc.   152,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6366    25‐May‐18    7207120050   California Steel Industries, Inc.   8,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6367    25‐May‐18    7207120050   California Steel Industries, Inc.   140,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6368    25‐May‐18    7207120050   California Steel Industries, Inc.   452,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6369    25‐May‐18    7207120050   California Steel Industries, Inc.   48,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6370    25‐May‐18    7207120050   California Steel Industries, Inc.   1,440,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6371    25‐May‐18    7207120050   California Steel Industries, Inc.   500,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6372    25‐May‐18    7207120050   California Steel Industries, Inc.   280,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6373    25‐May‐18    7207120050   California Steel Industries, Inc.   76,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6374    25‐May‐18    7207120050   California Steel Industries, Inc.   68,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6375    25‐May‐18    7207120050   California Steel Industries, Inc.   8,000


                                                                                                   13
                                                                                      Volume                                Commerce
                                                                                      (metric             Commerce         Determined        US Steel                      AK Steel
      Docket ID      Date Posted     HTUS                   Importer                   tons)                                                            Nucor Objected?
                                                                                                        Denied Request?   Sufficient U.S.   Objected?                     Objected?
                                                                                     1000 kg = 1
                                                                                     metric ton                            Availability?

                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐6376    25‐May‐18    7207120050   California Steel Industries, Inc.   52,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐7454    31‐May‐18    7207120050   California Steel Industries, Inc.   120,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐7555      1‐Jun‐18   7207120050   California Steel Industries, Inc.   660,000
                                                                                                              Y                 N              Y              Y              Y
BIS‐2018‐0006‐7557      1‐Jun‐18   7207120050   California Steel Industries, Inc.   600,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8130      6‐Jun‐18   7207120050   California Steel Industries, Inc.   100,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8134      6‐Jun‐18   7207120050   California Steel Industries, Inc.   2,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8135      6‐Jun‐18   7207120050   California Steel Industries, Inc.   3,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8240      6‐Jun‐18   7207120050   California Steel Industries, Inc.   3,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8244      6‐Jun‐18   7207120050   California Steel Industries, Inc.   6,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8246      6‐Jun‐18   7207120050   California Steel Industries, Inc.   51,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8249      6‐Jun‐18   7207120050   California Steel Industries, Inc.   125,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8251      6‐Jun‐18   7207120050   California Steel Industries, Inc.   29,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8254      6‐Jun‐18   7207120050   California Steel Industries, Inc.   2,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8257      6‐Jun‐18   7207120050   California Steel Industries, Inc.   6,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8260      6‐Jun‐18   7207120050   California Steel Industries, Inc.   100,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8262      6‐Jun‐18   7207120050   California Steel Industries, Inc.   6,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8272      6‐Jun‐18   7207120050   California Steel Industries, Inc.   37,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8276      6‐Jun‐18   7207120050   California Steel Industries, Inc.   150,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8294      6‐Jun‐18   7224900055   California Steel Industries, Inc.   1,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8295      6‐Jun‐18   7224900055   California Steel Industries, Inc.   100,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8296      6‐Jun‐18   7224900055   California Steel Industries, Inc.   1,000


                                                                                                   14
                                                                                      Volume                                Commerce
                                                                                      (metric             Commerce         Determined        US Steel                      AK Steel
      Docket ID      Date Posted     HTUS                   Importer                   tons)                                                            Nucor Objected?
                                                                                                        Denied Request?   Sufficient U.S.   Objected?                     Objected?
                                                                                     1000 kg = 1
                                                                                     metric ton                            Availability?

                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8297      6‐Jun‐18   7224900055   California Steel Industries, Inc.   8,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8298      6‐Jun‐18   7224900055   California Steel Industries, Inc.   125,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8299      6‐Jun‐18   7224900055   California Steel Industries, Inc.   4,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8300      6‐Jun‐18   7224900055   California Steel Industries, Inc.   100,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8301      6‐Jun‐18   7224900055   California Steel Industries, Inc.   150,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8302      6‐Jun‐18   7207120050   California Steel Industries, Inc.   125,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8303      6‐Jun‐18   7224900055   California Steel Industries, Inc.   125,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8304      6‐Jun‐18   7207120050   California Steel Industries, Inc.   5,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8305      6‐Jun‐18   7224900055   California Steel Industries, Inc.   1,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8307      6‐Jun‐18   7224900055   California Steel Industries, Inc.   100,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8308      6‐Jun‐18   7224900055   California Steel Industries, Inc.   1,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8309      6‐Jun‐18   7224900055   California Steel Industries, Inc.   2,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8310      6‐Jun‐18   7224900055   California Steel Industries, Inc.   1,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8311      6‐Jun‐18   7224900055   California Steel Industries, Inc.   3,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8313      6‐Jun‐18   7207120050   California Steel Industries, Inc.   8,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8314      6‐Jun‐18   7224900055   California Steel Industries, Inc.   2,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8315      6‐Jun‐18   7224900055   California Steel Industries, Inc.   125,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8317      6‐Jun‐18   7224900055   California Steel Industries, Inc.   3,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8318      6‐Jun‐18   7224900055   California Steel Industries, Inc.   100,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8320      6‐Jun‐18   7224900055   California Steel Industries, Inc.   150,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8334      6‐Jun‐18   7207120050   California Steel Industries, Inc.   12,000


                                                                                                   15
                                                                                      Volume                                Commerce
                                                                                      (metric             Commerce         Determined        US Steel                      AK Steel
      Docket ID      Date Posted     HTUS                   Importer                   tons)                                                            Nucor Objected?
                                                                                                        Denied Request?   Sufficient U.S.   Objected?                     Objected?
                                                                                     1000 kg = 1
                                                                                     metric ton                            Availability?

                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8338      6‐Jun‐18   7207120050   California Steel Industries, Inc.   5,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8368      6‐Jun‐18   7207120050   California Steel Industries, Inc.   125,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8371      6‐Jun‐18   7207120050   California Steel Industries, Inc.   150,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8372      6‐Jun‐18   7207120050   California Steel Industries, Inc.   7,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8377      6‐Jun‐18   7207120050   California Steel Industries, Inc.   100,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8380      6‐Jun‐18   7207120050   California Steel Industries, Inc.   7,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8385      6‐Jun‐18   7207120050   California Steel Industries, Inc.   12,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8388      6‐Jun‐18   7207120050   California Steel Industries, Inc.   36,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8391      6‐Jun‐18   7207120050   California Steel Industries, Inc.   8,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8395      6‐Jun‐18   7207120050   California Steel Industries, Inc.   95,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8398      6‐Jun‐18   7207120050   California Steel Industries, Inc.   125,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8401      6‐Jun‐18   7207120050   California Steel Industries, Inc.   22,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8407      6‐Jun‐18   7207120050   California Steel Industries, Inc.   1,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8411      6‐Jun‐18   7207120050   California Steel Industries, Inc.   3,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8413      6‐Jun‐18   7207120050   California Steel Industries, Inc.   1,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8424      6‐Jun‐18   7207120050   California Steel Industries, Inc.   4,000
                                                                                                              Y                 Y              Y              Y              N
BIS‐2018‐0006‐8429      6‐Jun‐18   7207120050   California Steel Industries, Inc.   100,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8431      6‐Jun‐18   7207120050   California Steel Industries, Inc.   4,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8432      6‐Jun‐18   7207120050   California Steel Industries, Inc.   2,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8433      6‐Jun‐18   7207120050   California Steel Industries, Inc.   61,000
                                                                                                              Y                 Y              Y              Y              Y
BIS‐2018‐0006‐8442      6‐Jun‐18   7224900055   California Steel Industries, Inc.   125,000


                                                                                                   16
                                                                                        Volume                                Commerce
                                                                                        (metric             Commerce         Determined        US Steel                      AK Steel
      Docket ID       Date Posted      HTUS                   Importer                   tons)                                                            Nucor Objected?
                                                                                                          Denied Request?   Sufficient U.S.   Objected?                     Objected?
                                                                                       1000 kg = 1
                                                                                       metric ton                            Availability?

                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐16971       6‐Jul‐18   7207120050   California Steel Industries, Inc.   4,000
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐16973       6‐Jul‐18   7207120050   California Steel Industries, Inc.   4,000
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐16975       6‐Jul‐18   7207120050   California Steel Industries, Inc.   3,000
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐16977       6‐Jul‐18   7207120050   California Steel Industries, Inc.   3,000
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐16979       6‐Jul‐18   7207120050   California Steel Industries, Inc.   9,000
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐16991       6‐Jul‐18   7207120050   California Steel Industries, Inc.   81,000
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐16995       6‐Jul‐18   7207120050   California Steel Industries, Inc.   4,000
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐16998       6‐Jul‐18   7207120050   California Steel Industries, Inc.   10,000
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐17003       6‐Jul‐18   7207120050   California Steel Industries, Inc.   6,000
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐17004       6‐Jul‐18   7207120050   California Steel Industries, Inc.   80,000
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐17005       6‐Jul‐18   7207120050   California Steel Industries, Inc.   4,000
                                                                                                                Y                 Y              Y              Y              N
BIS‐2018‐0006‐18417      16‐Jul‐18   7207120050   California Steel Industries, Inc.   80,000
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐18432      16‐Jul‐18   7207120050   California Steel Industries, Inc.   4,000
                                                                                                                Y                 Y              Y              Y              N
BIS‐2018‐0006‐18437      16‐Jul‐18   7207120050   California Steel Industries, Inc.   10,000
                                                                                                                Y                 Y              Y              Y              N
BIS‐2018‐0006‐18441      16‐Jul‐18   7207120050   California Steel Industries, Inc.   6,000
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐18460      16‐Jul‐18   7207120050   California Steel Industries, Inc.   4,000
                                                                                                                Y                 Y              Y              Y              N
BIS‐2018‐0006‐18465      16‐Jul‐18   7207120050   California Steel Industries, Inc.   5,000
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐18470      16‐Jul‐18   7207120050   California Steel Industries, Inc.   5,000
                                                                                                                Y                 Y              Y              Y              N
BIS‐2018‐0006‐18556      16‐Jul‐18   7207120050   California Steel Industries, Inc.   4,000
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐18558      16‐Jul‐18   7207120050   California Steel Industries, Inc.   4,000
                                                                                                                Y                 Y              Y              Y              N
BIS‐2018‐0006‐18560      16‐Jul‐18   7207120050   California Steel Industries, Inc.   9,000


                                                                                                     17
                                                                                        Volume                                Commerce
                                                                                        (metric             Commerce         Determined        US Steel                      AK Steel
      Docket ID       Date Posted      HTUS                    Importer                  tons)                                                            Nucor Objected?
                                                                                                          Denied Request?   Sufficient U.S.   Objected?                     Objected?
                                                                                       1000 kg = 1
                                                                                       metric ton                            Availability?

                                                                                                                Y                 Y              Y              Y              N
BIS‐2018‐0006‐18639      16‐Jul‐18   7224900055   Evraz Inc.                          567
                                                                                                                Y                 Y              Y              Y              N
BIS‐2018‐0006‐19005      16‐Jul‐18   7207120050   Evraz Inc.                          2,223
                                                                                                                Y                 Y              Y              Y              N
BIS‐2018‐0006‐19008      16‐Jul‐18   7207120050   Evraz Inc.                          567
                                                                                                                Y                 Y              Y              Y              N
BIS‐2018‐0006‐19010      16‐Jul‐18   7207120050   Evraz Inc.                          1,111
                                                                                                                Y                 Y              Y              Y              N
BIS‐2018‐0006‐19014      16‐Jul‐18   7224900055   Evraz Inc.                          7,530
                                                                                                                Y                 Y              Y              Y              N
BIS‐2018‐0006‐19019      16‐Jul‐18   7207120050   Evraz Inc.                          2,177
                                                                                                                Y                 Y              Y              Y              N
BIS‐2018‐0006‐19022      16‐Jul‐18   7207120050   Evraz Inc.                          5,534
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐18452      16‐Jul‐18   7207120050   California Steel Industries, Inc.   77,000
                                                                                                                Y                 N              Y              Y              N
BIS‐2018‐0006‐19134      17‐Jul‐18   7207120050   Evraz Inc.                          3,084
                                                                                                                Y                 N              Y              Y              N
BIS‐2018‐0006‐19138      17‐Jul‐18   7224900055   Evraz Inc.                          7,688
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐20588      18‐Jul‐18   7207120050   AM/NS Calvert LLC                   38,092
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐20588      18‐Jul‐18   7224900055   AM/NS Calvert LLC                   38,092
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐20594      18‐Jul‐18   7224900055   AM/NS Calvert LLC                   43,758
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐20601      18‐Jul‐18   7224900055   AM/NS Calvert LLC                   43,282
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐20609      18‐Jul‐18   7224900055   AM/NS Calvert LLC                   32,476
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐20613      18‐Jul‐18   7224900055   AM/NS Calvert LLC                   37,991
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐20619      18‐Jul‐18   7224900055   AM/NS Calvert LLC                   89,845
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐23689      24‐Jul‐18   7224900055   California Steel Industries, Inc.   4,000
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐23697      24‐Jul‐18   7224900055   California Steel Industries, Inc.   4,000
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐23701      24‐Jul‐18   7224900055   California Steel Industries, Inc.   4,000
                                                                                                                Y                 Y              Y              Y              Y
BIS‐2018‐0006‐24194      24‐Jul‐18   7207120050   NLMK Pennsylvania, LLC              233,502


                                                                                                     18
                                                                            Volume                                Commerce
                                                                            (metric             Commerce         Determined        US Steel                      AK Steel
      Docket ID       Date Posted      HTUS                    Importer      tons)                                                            Nucor Objected?
                                                                                              Denied Request?   Sufficient U.S.   Objected?                     Objected?
                                                                           1000 kg = 1
                                                                           metric ton                            Availability?

                                                                                                    Y                 Y              Y              Y              N
BIS‐2018‐0006‐27294      30‐Jul‐18   7224900055   Evraz Inc.              16,329
                                                                                                    Y                 Y              Y              Y              N
BIS‐2018‐0006‐27296      30‐Jul‐18   7224900055   Evraz Inc.              5,443
                                                                                                    Y                 Y              Y              Y              N
BIS‐2018‐0006‐27299      30‐Jul‐18   7224900055   Evraz Inc.              10,886
                                                                                                    Y                 Y              Y              Y              N
BIS‐2018‐0006‐27303      30‐Jul‐18   7224900055   Evraz Inc.              21,772
                                                                                                    Y                 Y              Y              Y              Y
BIS‐2018‐0006‐29409      3‐Aug‐18    7207120050   AM/NS Calvert LLC       12,548
                                                                                                    Y                 Y              Y              Y              Y
BIS‐2018‐0006‐29410      3‐Aug‐18    7207120050   AM/NS Calvert LLC       195,200
                                                                                                    Y                 Y              Y              Y              Y
BIS‐2018‐0006‐29411      3‐Aug‐18    7207120050   AM/NS Calvert LLC       71,868
                                                                                                    Y                 Y              Y              Y              Y
BIS‐2018‐0006‐29413      3‐Aug‐18    7207120050   AM/NS Calvert LLC       70,444
                                                                                                    Y                 Y              Y              Y              Y
BIS‐2018‐0006‐29415      3‐Aug‐18    7207120050   AM/NS Calvert LLC       39,287
                                                                                                    Y                 Y              Y              Y              Y
BIS‐2018‐0006‐29417      3‐Aug‐18    7207120050   AM/NS Calvert LLC       80,125
                                                                                                    Y                 Y              Y              Y              Y
BIS‐2018‐0006‐29462      3‐Aug‐18    7207120050   JSW Steel (USA) Inc.    150,000
                                                                                                    Y                 Y              Y              Y              Y
BIS‐2018‐0006‐29465      3‐Aug‐18    7224900055   JSW Steel (USA) Inc.    25,000
                                                                                                    Y                 Y              Y              Y              Y
BIS‐2018‐0006‐29470      3‐Aug‐18    7207120050   JSW Steel (USA) Inc.    150,000
                                                                                                    Y                 Y              Y              Y              Y
BIS‐2018‐0006‐29474      3‐Aug‐18    7224900055   JSW Steel (USA) Inc.    25,000
                                                                                                    Y                 Y              Y              Y              Y
BIS‐2018‐0006‐29481      3‐Aug‐18    7207120050   JSW Steel (USA) Inc.    350,000
                                                                                                    Y                 Y              Y              Y              Y
BIS‐2018‐0006‐29484      3‐Aug‐18    7224900055   JSW Steel (USA) Inc.    200,000
                                                                                                    Y                 Y              Y              Y              N
BIS‐2018‐0006‐29575      3‐Aug‐18    7207120050   Evraz Inc.              4,354
                                                                                                    Y                 Y              Y              Y              N
BIS‐2018‐0006‐29577      3‐Aug‐18    7207120050   Evraz Inc.              30,264
                                                                                                    Y                 Y              Y              Y              N
BIS‐2018‐0006‐29579      3‐Aug‐18    7207120050   Evraz Inc.              3,810
                                                                                                    Y                 Y              Y              Y              N
BIS‐2018‐0006‐29580      3‐Aug‐18    7207120050   Evraz Inc.              726
                                                                                                    Y                 Y              Y              Y              N
BIS‐2018‐0006‐29583      3‐Aug‐18    7207120050   Evraz Inc.              1,451


                                                                                         19
                                                                           Volume                                Commerce
                                                                           (metric             Commerce         Determined        US Steel                      AK Steel
      Docket ID       Date Posted     HTUS                    Importer      tons)                                                            Nucor Objected?
                                                                                             Denied Request?   Sufficient U.S.   Objected?                     Objected?
                                                                          1000 kg = 1
                                                                          metric ton                            Availability?

                                                                                                   Y                 Y              Y              Y              N
BIS‐2018‐0006‐29597      3‐Aug‐18   7224900055   Evraz Inc.              18,144
                                                                                                   Y                 Y              Y              Y              N
BIS‐2018‐0006‐29599      3‐Aug‐18   7224900055   Evraz Inc.              22,680
                                                                                                   Y                 Y              Y              Y              N
BIS‐2018‐0006‐29602      3‐Aug‐18   7224900055   Evraz Inc.              22,680
                                                                                                   Y                 Y              Y              Y              N
BIS‐2018‐0006‐29604      3‐Aug‐18   7224900055   Evraz Inc.              7,257
                                                                                                   Y                 Y              Y              Y              N
BIS‐2018‐0006‐29605      3‐Aug‐18   7224900055   Evraz Inc.              7,257
                                                                                                   Y                 Y              Y              Y              N
BIS‐2018‐0006‐29606      3‐Aug‐18   7224900055   Evraz Inc.              40,823
                                                                                                   Y                 Y              Y              Y              N
BIS‐2018‐0006‐29611      3‐Aug‐18   7224900055   Evraz Inc.              40,823
                                                                                                   Y                 Y              Y              Y              N
BIS‐2018‐0006‐29612      3‐Aug‐18   7224900055   Evraz Inc.              18,144
                                                                                                   Y                 Y              Y              Y              N
BIS‐2018‐0006‐29614      3‐Aug‐18   7224900055   Evraz Inc.              3,701
                                                                                                   Y                 Y              Y              Y              N
BIS‐2018‐0006‐29617      3‐Aug‐18   7224900055   Evraz Inc.              5,443
                                                                                                   Y                 Y              Y              Y              N
BIS‐2018‐0006‐29621      3‐Aug‐18   7207120050   Evraz Inc.              9,435
                                                                                                   Y                 Y              Y              Y              N
BIS‐2018‐0006‐29627      3‐Aug‐18   7207120050   Evraz Inc.              2,903
                                                                                                   Y                 Y              Y              Y              N
BIS‐2018‐0006‐29632      3‐Aug‐18   7207120050   Evraz Inc.              29,211
                                                                                                   Y                 Y              Y              Y              N
BIS‐2018‐0006‐29635      3‐Aug‐18   7207120050   Evraz Inc.              4,717
                                                                                                   Y                 Y              Y              Y              N
BIS‐2018‐0006‐29639      3‐Aug‐18   7207120050   Evraz Inc.              726




                                                                                        20
